Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 1 of 11




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-002201-PAB-MEH

   DANIELLE JURINSKY, individually, and on behalf of all others similarly situated,

          Plaintiffs,

   v.

   ARAPAHOE COUNTY DEPARTMENT OF HUMAN SERVICES, DIVISION OF CHILD &
   ADULT PROTECTION SERVICES, et al.,

          Defendants.


    DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STAY AND VACATE
                      THE SCHEDULING CONFERENCE


          Defendants Arapahoe County Department of Human Services (“ACDHS”), former

   ACDHS caseworker Robin Niceta, in her official capacity, ACDHS Division Manager Michelle

   Dossey, in her official capacity, and the Arapahoe County Board of County Commissioners (the

   “Board”) (collectively, the “Defendants”), through counsel, submit this Reply in Support of their

   Motion to Stay and Vacate the Scheduling Conference [Doc. #26].

                                            Introduction

          Ms. Jurinsky, an Aurora City Councilmember, brings this putative class action on behalf

   of herself and others “similarly situated,” stemming from an investigation into child abuse

   allegations against her prompted by an anonymous phone call to ACDHS’s child abuse hotline.

   Am. Compl. [Doc. # 17] ¶ 37. The investigation was ultimately dismissed and no dependency and

   neglect action was ever filed against Mr. Jurinsky, nor was her child ever removed from her care.

   See generally Am. Compl. ¶¶ 36-56 (no allegations that child was removed or legal action taken).
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 2 of 11




   However, because ACDHS later discovered the anonymous call was made by then-employee

   Robin Niceta, who was in an intimate relationship with the former Aurora Police Chief, against

   whom Ms. Jurinsky had made negative public comments, Ms. Niceta was arrested and now faces

   criminal charges. See Ex. 2 to Resp. to Mot. (probable cause arrest affidavit).1 Notwithstanding

   the highly individualized allegations regarding Ms. Niceta’s alleged private conduct targeting

   Plaintiff, Ms. Jurinsky nonetheless brings claims on behalf of “all similarly situated individuals”

   for “all children, parents, and caretakers who have had their constitutional rights violated in the

   course of an Arapahoe County Department of Human Services, Division of Child and Adult

   Protection Services, Investigation.” Am. Compl. ¶ 504-05. Plaintiff’s 546-paragraph Amended

   Complaint contains hundreds of paragraphs devoted to 26 unnamed putative class members.

          Plaintiff’s Response makes clear that she intends to seek discovery related to these 26

   additional unnamed class members, at least eleven of whom have claims stemming from

   allegations over two-years old (beyond the statute of limitations) and all of whom allege grievances

   related to ongoing or completed state court actions, which would therefore be subject to well-

   established jurisdictional defenses such as Younger abstention and the Rooker-Feldman doctrine.

   Plaintiff’s Response also provides examples of the far-reaching discovery Plaintiff intends to seek

   on her own behalf which will invariably involve onerous requests for communications by and

   among ACDHS staff, requests related to training and policies of the Department (which will

   significantly overlap with state policies and training, as ACDHS is an arm of the State), and

   discovery directed to the Arapahoe County Board of Commissioners (“BOCC”) regarding their


   1
     Ms. Jurinsky has sued Ms. Niceta individually in state court for these acts. See Ex. A-1 to Mot.
   to Dismiss [Doc. #25]. The present lawsuit only names Ms. Niceta in her official capacity.


                                                    2
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 3 of 11




   “involvement in, knowledge and approval of, or control over the other Defendants’

   unconstitutional conduct.” Resp. at 6. These examples of the discovery Plaintiff will seek not only

   illustrate the burdens of responding to such onerous requests, but they also highlight that Plaintiff

   will seek information from parties who are improper legal entities to be sued in the first instance.

   See, e.g., Mot to Dismiss at 4-8 (Ms. Niceta’s alleged private conduct was not in her professional

   capacity and therefore not under color of state law, rendering all Defendants as improperly named)

   & 13-14 (explaining well-established law that the BOCC is not the policymaker for ACDHS).

          Simply put, this case does not involve run-of-the-mill discovery requests and a standard

   motion to dismiss arguing Plaintiff failed to allege sufficient facts. Rather, Plaintiff asserts

   constitutional claims on behalf of herself and 26 other individuals who feel aggrieved based upon

   their experiences with ACDHS. In response, Defendants have asserted a wide range of defenses,

   including that Ms. Niceta was not acting under color of state law when she made this anonymous

   report of child abuse to a public hotline. Because Plaintiff’s claims are all premised upon Ms.

   Niceta’s private acts, Defendants are all improper parties because no state action has been pled to

   support any of Ms. Jurisnky’s Section 1983 claims. Although stays of discovery are generally

   disfavored, “discovery may be inappropriate while threshold issues of immunity or jurisdiction are

   being resolved.” Love v. Grashorn, No. 21-cv-02502-RM-NRN, 2022 WL 1642496, at *2 (D.

   Colo. May 24, 2022). Here, Defendants’ many bases for dismissal include Plaintiff’s inability to

   allege a state action for this private retributive conduct. See Jojola v. Chavez, 55 F.3d 488, 492

   (10th Cir. 1995) (noting the “‘under color of state law’ requirement is a ‘jurisdictional requisite

   for a § 1983 action’”) (citations omitted). Although a failure to establish the under color of state

   law requirement is brought under Fed. R. Civ. P. 12(b)(6) instead of 12(b)(1), it nonetheless


                                                    3
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 4 of 11




   implicates jurisdictional issues and is very much a “threshold issue,” rendering discovery

   inappropriate until the threshold issue is adjudicated.

          Further underscoring that this is no ordinary case, Plaintiff and her counsel have sought out

   and obtained significant media attention, including through press conferences regarding this

   litigation. See, e.g., Noelle Phillips & Nick Coltrain, Aurora councilwoman sues over unfounded

   child abuse report, says Arapahoe County DHS is plagued by “evil,” DENVER POST (Aug. 25,

   2022), https://www.denverpost.com/2022/08/25/danielle-jurinksy-robin-niceta-lawsuit-arapahoe-

   county-dhs/ (“Jurinsky, her lawyers and about a dozen other people held a news conference to

   lambast Niceta and to portray her as emblematic of broader corruption within Arapahoe County’s

   human services department.”). Although Plaintiff only asserts official capacity claims, her

   Amended Complaint disparages other public servants within the ACDHS for whom being sued (or

   being caught up in a lawsuit against the ACDHS) is very real and stressful. Plaintiff should not be

   permitted to seek wide-ranging information to push her public narrative disparaging the ACDHS

   and its employees when the pending Motion to Dismiss will likely resolve all claims, particularly

   where Defendants are all improper parties and where the Motion raises issues relating to this

   Court’s jurisdiction. See Fed. R. Civ. P. 26(c) (permitting trial court to “make any order which

   justice requires to protect a party . . . from annoyance, embarrassment, oppression or undue burden

   or expense.”). Here, justice very much requires this Court issue a stay to protect ACDHS and its

   employees from burdensome discovery before their Motion to Dismiss is adjudicated. A stay here

   would enable ACDHS employees to continue performing their job duties without the fear that their

   name will be dragged into the press because they sent an email two years ago related to one of the

   26 other putative class plaintiffs whose claims may not be remotely viable. Both Fed. R. Civ. P.


                                                     4
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 5 of 11




   26(c) and the String Cheese factors heavily favor staying discovery in this matter.

      I.      Plaintiff’s interest in proceeding expeditiously and the potential prejudice of any
              delay are heavily outweighed by the burden on Defendants.

           Plaintiff argues she has an interest in proceeding expeditiously but fails to establish how

   she will be prejudiced if the discovery process is stayed until Defendants’ Motion to Dismiss is

   adjudicated. Ms. Niceta is currently facing criminal charges based on the conduct alleged in the

   Amended Complaint, and Plaintiff has a pending state court action against Ms. Niceta individually,

   alleging slander, libel, and intentional infliction of emotional distress. See Ex. A-1 to Mot. to

   Dismiss [Doc. #25]. Thus, Ms. Jurinsky has recourse against Ms. Niceta for her individual, private

   actions irrespective of the outcome here. A stay will not prejudice Plaintiff’s ability to litigate this

   case or her private action against Ms. Niceta or stymie the criminal prosecution of Ms. Niceta.

           Importantly, if Plaintiff is able to convince the Court that Ms. Niceta was acting under color

   of state law when she anonymously called the state’s public child abuse hotline because she was

   angry about what Ms. Jurinsky had said about her partner, Plaintiff will have the opportunity to

   proceed with her efforts to obtain the wide-range discovery referenced in her Response. A delay

   of some months will not result in significant prejudice to Ms. Jurinsky. Moreover, to the extent

   Ms. Jurinsky argues a stay should be denied because of the “urgent need to redress [the] harms”

   against “dozens of children” of the putative class members (Resp. at 5), these class members have

   allowed their purported claims to languish for years. Only now, when a former ACDHS

   caseworker makes a retaliatory phone call to a public child abuse hotline from her private cell

   phone do these putative class members suddenly seek to hitch their grievances to Ms. Jurinsky’s




                                                      5
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 6 of 11




   claims.2 If these class members can wait years to seek to assert their grievances, a stay of Ms.

   Jurinsky’s claims will not create any prejudice for them.

          In contrast, the burden on Defendants if discovery proceeds before adjudicating the Motion

   to Dismiss is substantial. Plaintiff’s Response outlines several categories of discovery she intends

   to seek. Given the litigious posture of this case and the intention to seek discovery on behalf of

   both herself and 26 putative class members, Defendants anticipate Plaintiff will seek thousands

   upon thousands of pages of documents in discovery, which will include internal communications

   relating to any of these 26 individual cases. Notably, numerous caseworkers encounter a

   dependency and neglect case throughout its progression. Thus, Plaintiff will likely seek a trove of

   communications sent to or received by dozens of individual ACDHS employees. The time to

   review these communications for privileges and responsiveness will be immense.

          Additionally, given Plaintiff’s use of the media as a mouthpiece for her grievances,

   individual caseworkers and other ACDHS public servants fear their names will be dragged through

   the mud merely because they happened to send an email two years ago related to a case that has

   been caught up in Plaintiff’s wide net. ACDHS caseworkers already face the very difficult tasks

   of protecting children (often in instances of severe abuse) and guiding children to the best possible

   outcome. The fear of having their communications in child dependency and neglect actions

   politicized could have a chilling effect on these caseworkers’ ability to do their jobs. In the unlikely



   2
     Many of these unnamed putative class members had no contact with Ms. Niceta. Thus, there is
   not even a colorable nexus between Plaintiff and some of the unnamed plaintiffs for whom she
   intends to seek discovery. Indeed, all unnamed plaintiffs had legal actions initiated against them
   while Plaintiff never had any such action initiated against her. Her claim against Defendants is
   based on ACDHS’s two-week child abuse investigation before closing the case and subsequently
   involving law enforcement, leading to the arrest of the person who made the anonymous report.
                                                      6
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 7 of 11




   event Plaintiff is able to establish this Court’s jurisdiction over her claims and any portion of her

   claims are allowed to proceed, only then will it be appropriate to evaluate the scope of the burden

   to impose upon ACDHS and its employees. Protecting ACDHS caseworkers from the “annoyance,

   embarrassment, oppression, or undue burden” is alone a sufficient basis for this Court to stay

   discovery until the Motion to Dismiss is adjudicated, especially where Plaintiff’s allegations of

   state action are so tenuous. See Fed. R. Civ. P. 26(c).

          Furthermore, the hefty burden on Defendants does not end at a request for communications.

   Sorting through the policies and trainings will also be a significant task because ACDHS is an arm

   of the State. Thus, the majority of trainings and policies and relevant guidance come from the

   State, not the County, but locating and parsing this information will be time-consuming. Finally,

   for her own case, Plaintiff intends to seek information regarding “what Defendant ACDHS and

   Defendant Dossey knew about Defendant Niceta’s honesty and credibility,” among other things.

   Resp. at 5. Again, this request highlights the burdens discovery will place on public servants by

   seeking their communications, documents, and depositions---all to account for an employee’s

   private actions in an effort to seek private retribution before a court adjudicates Defendants’

   Motion to Dismiss on this very basis. Importantly, where defendants are improperly named in

   Section 1983 litigation because their actions were not taken under color of state law, a stay of

   discovery is warranted. See, e.g., Barnes v. Timmons, No. 12-cv-01042-WJM-KMT, 2012 WL

   4478977, at *4 (D. Colo. Sept. 28, 2012) (“Thus, the court finds that Defendant Timmons would

   be subject to a significant burden if he were forced to proceed with discovery only to be dismissed

   from this action as a patently improper party.”). Plaintiff’s insistence on including the BOCC in

   this litigation is particularly problematic because the BOCC is an improper party both because


                                                     7
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 8 of 11




   Niceta’s actions were not under color of state law and because the BOCC does not make the

   policies for the ACDHS, which is an arm of the State. See Mot. to Dismiss [Doc. #24] at 13-14. If

   discovery proceeds, Plaintiff will seek information from the BOCC to determine “the extent of

   [its] involvement in, knowledge and approval of, or control over the other Defendants’

   unconstitutional conduct.” Resp. at 6. This will presumably involve significant requests from

   current and past members of the BOCC. The same reasoning for granting stays where immunity

   defenses are invoked applies here:

            If a Government official is to devote time to his or her duties, and to the formulation of
            sound and responsible policies, it is counterproductive to require the substantial diversion
            that is attendant to participating in litigation and making informed decisions as to how it
            should proceed. Litigation, though necessary to ensure that officials comply with the law,
            exacts heavy costs in terms of efficiency and expenditure of valuable time and resources
            that might otherwise be directed to the proper execution of the work of the Government.

   Barnes, 2012 WL 4478977, at *2 (quoting Ashcroft v. Iqbal, 556.U.S. 662, 685 (2009)).

            In sum, the burden on Defendants greatly exceeds the standard burdens of discovery. These

   burdens are not hypothetical; they are real, significant, and stressful. Defendants seek to dismiss

   on grounds that Plaintiff has not and cannot state a threshold prerequisite to any Section 1983

   action that the claimed unconstitutional conduct was taken under color of state law. Defendants

   should not be subjected to the burdens of discovery unless and until Plaintiff’s claims are deemed

   legally able to proceed.

      II.      Convenience to the court also supports a stay.

            Here, convenience to the Court strongly supports a stay. “A stay of discovery pending the

   determination of a dispositive motion is an eminently logical means to prevent wasting the time

   and effort of all concerned, and to make the most efficient use of judicial resources.” Blixseth v.

   Cushman & Wakefield of Colorado, Inc., No. 12-cv-00393-PAB-KLM, 2012 WL 3962800, at *1

                                                     8
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 9 of 11




   (D. Colo. Sept. 11, 2012) (internal quotations and citations omitted). Moreover, stays may be

   appropriate where “resolution of a preliminary motion may dispose of the entire action.” Id; see

   also 8 Charles Alan Wright, et al., Federal Practice and Procedure § 2040, at 521-22 (2d ed. 1994)

   (“[W]hen one issue may be determinative of a case, the court has discretion to stay discovery on

   other issues until the critical issue has been decided.”). Because the motion to dismiss is likely to

   be dispositive of Plaintiff’s entire case, the Court’s convenience will be served by a brief stay. In

   contrast, there are likely to be significant and ongoing discovery disputes given Plaintiff’s position

   that she is entitled to seek discovery on behalf of 26 unnamed putative class members related to

   the specific facts and circumstances of those cases. Notably, Plaintiff does not have standing to

   assert claims on behalf of un-named class members. See Cunningham v. Birch, No. 16-cv-02353-

   NYW, 2017 WL 1243020, at *3 (D. Colo. Feb. 17, 2017). She therefore should not be permitted

   to seek discovery related to claims she cannot assert. This is but one of many discovery disputes

   this Court will have to adjudicate while the Motion to Dismiss is pending. A brief stay will allow

   the Court to wait and see if it needs to adjudicate any discovery dispute at all—and if so, a ruling

   on the Motion to Dismiss could significantly limit or focus areas appropriate for discovery.

      III.      The interests of persons not parties to the civil litigation strongly supports a stay.

             As discussed above, ACDHS employs dozens of caseworkers who are likely to be

   subjected to the burdens of discovery, both to assist counsel with locating and reviewing

   responsive documents and also as potential witnesses for their roles in Ms. Jurisnky’s case and in

   any of the unnamed 26 putative class members’ cases. Ms. Jurinsky and her counsel have held

   press conferences and repeatedly availed themselves of the media in order to push their narrative

   that Ms. Jurinsky and others have been harmed by the ACDHS. There is no reason to expect this


                                                     9
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 10 of 11




   conduct will change or that individual ACDHS public servants who happened to work on a case

   with the goal of protecting a child will not find their names in the limelight. These individuals are

   not parties to the litigation but very much have an interest in their privacy and the ability to do

   their jobs unimpeded by the political motivations of others. These individual public servants have

   a significant interest in staying this discovery unless and until a court determines any of Ms.

   Jurinsky’s claims may proceed. Thus, this factor heavily weighs in favor of a stay.

      IV.      The public interest does not support a stay.

            Defendants agree that the “public interest favors the prompt and efficient handling of all

   litigation.” Resp. at 8 (quoting Boden v. Hmshost Corp., No. 15-cv-00606-CMA-KMT, 2015 WL

   3826725, at *5 (D. Colo. June 19, 2015)) (emphasis added). Here, the efficient handling of this

   litigation strongly favors a stay for the reasons outlined supra at 8-9 and because the Motion to

   Dismiss is likely dispositive of all Plaintiff’s claims. Moreover, even if this factor weighed in

   Plaintiff’s favor—which it does not—it is substantially outweighed by the other String Cheese

   factors for the reasons discussed above.

            WHEREFORE, the Defendants respectfully request that the Court stay all discovery

   pending resolution of the Defendants’ Motion to Dismiss.

            Submitted this 8th day of November, 2022.

                                          Arapahoe County Attorney’s Office


                                          By:    s/Rebecca M. Taylor
                                          Writer Mott
                                          Deputy County Attorney
                                          Rebecca M. Taylor
                                          Assistant County Attorney
                                          5334 S. Prince Street, Littleton, CO 80120-1136
                                          Tele: 303-795-4639

                                                    10
Case 1:22-cv-02201-PAB-MEH Document 35 Filed 11/08/22 USDC Colorado Page 11 of 11




                                         E-mail: Wmott@arapahoegov.com
                                         E-mail: Rtaylor@arapahoegov.com

                                         Attorneys for Defendants


                                         Certificate of Service
           This is to certify that on the 8th day of November 2022, I electronically filed the foregoing
   DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STAY AND VACATE
   THE SCHEDULING CONFERENCE with the Clerk of Court using the CM/ECF system which
   will send notification of such filing to the following e-mail address(es):

   Elliot A. Singer
   elliot@conduit.law



                                                         s/ Stacy Hines
                                                         Stacy Hines, Paralegal
                                                         Arapahoe County Attorney’s Office




                                                    11
